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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ROSS WILLIAM ULBRICHT,

                                   Petitioner,                                  19 CIVIL 7512
                                                                                  14 CR. 68
                 -against-
                                                                                JUDGMENT
UNITED STATES OF AMERICA,

                                    Respondent.
-------------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated June 13, 2022, the Petition is DENIED. As

Petitioner has not made a substantial showing of the denial of a constitutional right, a Certificate

of Appealability will not issue. See 28 U.S.C. § 2253(c)(2); Lucidore v. N.Y. State Div. of

Parole, 209 F.3d 107, 111-12 (2d Cir. 2000). The Court certifies, pursuant to 28 U.S.C. §

1915(a)(3), that an appeal from this judgment on the merits would not be taken in good faith, and

therefore in forma pauperis status is denied for the purpose of an appeal. See Coppedge v. United

States, 369 U.S. 438, 445 (1962) ("We consider a defendant's good faith... demonstrated when he

seeks appellate review of any issue not frivolous."). Judgment is entered in favor of Respondent;

accordingly, the case is closed.

DATED: New York, New York
       June 13, 2022


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                           Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
